CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 1 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 2 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 3 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 4 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 5 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 6 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 7 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 8 of 9
CASE 0:21-cr-00264-JRT-TNL Doc. 1-1 Filed 11/30/21 Page 9 of 9
